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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                                    NO. 4:13CR00090-02-KGB

ALMOND LEWIS

                                            ORDER

       Pending before the Court is a Motion for Revocation of Pre-Trial Release (Doc. No. 181)

requesting a summons be issued for this Defendant. For good cause shown, the motion for

issuance of summons is GRANTED. The Clerk shall issue summons to Defendant Almond

Lewis for appearance at a hearing before United States Magistrate Judge Joe Volpe on Thursday.

February 20, 2014, at 1:30 p.m. to show cause why his pre-trial release should not be revoked.




                                                              S MAGISTRATE JUDGE
